

Youyi Chen v 215 Chrystie Venture, LLC (2024 NY Slip Op 06296)





Youyi Chen v 215 Chrystie Venture, LLC


2024 NY Slip Op 06296


Decided on December 17, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 17, 2024

Before: Kern, J.P., Singh, González, Kennedy, Higgitt, JJ. 


Index No. 655908/20 Appeal No. 3284 Case No. 2024-00196 

[*1]Youyi Chen, Yulian Chen, et al., Plaintiffs-Respondents,
v215 Chrystie Venture, LLC, et al., Defendants. Qian Chen, et al., Proposed Plaintiffs-Appellants.


Perkins Coie LLP, New York (Adam R. Mandelsberg of counsel), for appellants.



Order, Supreme Court, New York County (Robert R. Reed, J.), entered December 4, 2023, which denied proposed plaintiffs' motion to join the pending action or to intervene, unanimously reversed, on the law, without costs and the motion to join granted.
Supreme Court should have granted proposed plaintiffs' motion for permissive joinder since their claims were virtually identical to the claims asserted by original plaintiffs and thus, shared common questions of law and fact (see CPLR 1002[a]; T.J. v Parpia, 227 AD3d 517, 518 [1st Dept 2024]). Moreover, allowing proposed plaintiffs to join would not cause undue delay to the parties because discovery was still ongoing and defendants had not yet answered (see CPLR 1002[c]; Amtorg Trading Corp. v Broadway &amp; 56th Street Assocs, 191 AD2d 212, 213 [1st Dept 1993]); see also Tanjong Shipping v Berke, 115 AD2d 401, 402-403 [1st Dept 1985]). 	
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 17, 2024








